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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  IN RE VALSARTAN,
  LOSARTAN, AND                                       MDL No. 2875
  IRBESARTAN PRODUCTS
  LIABILITY LITIGATION                         HON. RENÉE MARIE BUMB


  THIS DOCUMENT RELATES TO:
  Gaston Roberts et al. v. Zhejiang Huahai
  Pharmaceutical Co., et al.,
  Case No. 1:20-cv-00946




         PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’
                     MOTION TO EXCLUDE THE
         OPINIONS OF PLAINTIFFS’ EXPERT JOHN RUSSO, M.D.
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                           PRELIMINARY STATEMENT

        John Russo, M.D. is an internist who was a prescribing doctor of Valsartan

  during the time period when the ZHP pills were contaminated with NDMA, and was

  one of the many physicians who was required to transition his patients to alternative

  medications and treatments when the FDA recall was announced. Dr. Russo

  authored a detailed report that sets forth his background and experience, and details

  his opinions, all of which are based on his actual practice of medicine while applying

  and explaining the pivotal FDA statements announcing the recall of the

  contaminated medication. (Defs.’ Ex. 1).1

        Dr. Russo’s opinions are focused on the physicians who prescribed Valsartan.

  The learned intermediaries like the prescribing doctor in this case, Dr. Robichaux.

  This is virtually ignored by the defense. His opinions can be generally grouped into

  three categories. First, he opines that the information/risk warnings provided by

  ZHP prior to the recall were inadequate to inform prescribing physicians of the risk

  benefit profile for the medication because of the failure to disclose that the pills

  contained the probable human carcinogen NDMA. Second, Dr. Russo opines and



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    Defendants point out that Dr. Russo initially failed the board certification exam,
  which is salacious but of no import. He is board certified, and has risen to significant
  administrative positions in a large hospital system, including Section Chief of the
  Department of Medicine at Cooperman/RWJ St. Barnabas, which is a testament to
  the respect he has earned in his field. (Dr. Russo R. 1-2, Ex. A (Defs.’ Ex. 1); Dr.
  Russo Dep. Tr. 258:15-261:22 (Defs.’ Ex. 2)).
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  explains how the standard of care applied to require a reasonable prescribing

  physician to transition his or her patients to alternative medications not contaminated

  with NDMA, and how this played out in actual clinical practice. Third, Dr. Russo

  opines that the risk-benefit analysis required by the standard of care for a reasonable

  prescribing physician would never have permitted the knowing prescription of

  NDMA contaminated valsartan in light of the risk posed and the availability of safer

  alternative medications and treatments.

        Defendants predictably attack Dr. Russo’s credentials and highlight isolated

  statements during his deposition without providing the full context of his statements.

  Defendants leave out the facts that Dr. Russo is a board-certified internist, he teaches

  residents, is the section chief for the Department of Medicine at RWJ Cooperman

  St. Barnabas Medical Center, and is a member of the Formulary Committee of the

  hospital as well. Dr. Russo acknowledged that he is not a regulatory expert, that he

  is not a causation expert, and that he did not independently evaluate the validity of

  the opinions of Plaintiffs’ liability expert Dr. Hecht, which he relied on for

  background and context for how and why the contamination occurred. Of course, if

  he had testified to the contrary, the Defendants would criticize him for attempting to

  be what he is not. Since his opinions are limited to what he knows and did as a

  prescribing doctor, these attacks are red herrings.

        Defendants also criticize Dr. Russo for confirming that the standard he applied

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  to his opinion regarding the inadequacy of the risk information provided by ZHP is

  in accordance with the federal labeling standard requiring that safety risks be

  disclosed, because he is not a regulatory expert. Dr. Russo is absolutely qualified to

  interpret that standard from the perspective of a prescribing physician who relies on

  warning information in treating his patients. The point that matters is that the

  applicable standard was considered and relied on—and confirmed to be fully

  consistent with the standard applied by practitioners—the learned intermediaries.

        Defendants’ motion is largely premised on a mischaracterization of what Dr.

  Russo did, pretending that he tried to claim he was a regulatory expert, offered ethics

  opinions, and offered legal conclusions. He did none of that. His opinions are valid

  and fit the case. He can explain to the jury how a physician selects a blood pressure

  medication for a patient, the impact on the risk benefit analysis and informed consent

  from NOT being told that valsartan sold by ZHP contained NDMA, and the meaning

  and application of the FDA statement to physicians like him directing the physicians

  to transition their patients from the contaminated medication to alternatives. The

  motion should be denied.




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                                LEGAL ARGUMENT

                                             I.

       DR. RUSSO’S WARNING OPINIONS SHOULD BE PERMITTED

     A. Dr. Russo Is Qualified to Offer His Opinions.

        Dr. Russo is qualified to offer his opinions regarding the inadequacy of the

  warnings/risk information provided by ZHP from the perspective of a prescribing

  physician. He is literally one of the physicians that information was provided for—

  the learned intermediary who must evaluate and apply the prescribing and risk

  information provided by the manufacturer to counsel and make treatment

  recommendations to patients. Blackburn v. Shire U.S., Inc., 380 So. 3d 354, 359

  (Al. 2022).

        It is true that he is not a regulatory expert, but that is not a disqualifying fact

  because he is not pretending to be a regulatory expert. Rather, he is a practicing

  internal medicine clinician with actual experience in relying on the information

  provided by ZHP, and actual experience in applying the FDA recall notice in the

  care of actual patients. He need not be a regulatory expert or have experience writing

  drug warnings for industry. See Arevalo v. Coloplast Corp., No. 3:19CV3577-

  TKW-MJF, 2020 WL 3958505, at *20 (N.D. Fla. July 7, 2020) (rejecting the

  argument that the expert needed experience drafting labels because “he has ample

  experience interpreting IFUs over the course of his career”), aff’d sub nom., Arevalo

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  v. Mentor Worldwide LLC, No. 21-11768, 2022 WL 16753646 (11th Cir. Nov. 8,

  2022).

        Moreover, Dr. Russo teaches residents and holds significant administrative

  positions at a large New Jersey hospital, Robert Wood Johnson Cooperman

  Barnabas Medical Center, including Section Chief for the Department of Medicine

  with oversight over many physicians, and member of the hospital’s Formulary

  Committee, which is responsible for determining what medications to include in the

  hospital’s medication inventory. In those roles, he has direct knowledge and

  experience applying risk benefit analyses to the choice of blood pressure

  medications to be recommended to patients, including with regard to the Valsartan

  at issue in this case. He also teaches medical students and residents, including how

  to utilize prescribing and risk information provided by drug manufacturers in the

  clinical treatment of patients. (See, e.g., Dr. Russo Dep. Tr. 258:3-261:22 (“the

  formulary is looking at all of this data to make certain that we have the safest and

  the latest versions of all of these medication choices for our medical staff”), 270:7-

  11 (“I educate the residents, medical students about the different sources of

  information regarding medication prescriptions, about assessing patients”).

        Dr. Russo’s actual experience with the medication at issue, including the

  information provided by ZHP, and then by the FDA, and his oversight of the actions

  of hundreds or thousands of other physicians, including those he has taught, clearly

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  qualifies him to testify with regard to the adequacy of that information from the

  perspective of a prescribing learned intermediary.

     B. Dr. Russo Applied A Reliable Methodology.

        Defendants fail to acknowledge that Dr. Russo’s methodology is built from

  the perspective of a physician—the learned intermediary who must evaluate and

  apply the prescribing and risk information provided by the manufacturer to counsel

  and make treatment recommendations to patients. Blackburn v. Shire U.S., Inc., 380

  So. 3d 354, 359 (Al. 2022); See In re Suboxone (Buprenorphine Hydrochloride &

  Naloxone) Antitrust Litig., No. 13-MD-2445, 2020 WL 6887885, at *26 (E.D. Pa.

  Nov. 24, 2020) (“[T]he Third Circuit has recognized that a doctor's experience alone

  renders him a reliable witness to testify about a reasonable standard of care or what

  a reasonable physician would do,” including “‘what a reasonable doctor should

  know’ or ‘how a reasonable doctor would interpret [a] safety warning’”) (citing

  Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 405–07 (3d Cir. 2003));

  Crockett v. Luitpold Pharms., Inc., No. CV 19-276, 2023 WL 2162600, at *3 (E.D.

  Pa. Feb. 22, 2023) (“Doctors are able to rely on their experience to opine about what

  a reasonable doctor should know or how a reasonable doctor would interpret a drug

  warning. Moreover, medical experts can testify as to the adequacy of drug labeling

  and warnings based on their experience as physicians.” (citation omitted)).

        Dr. Russo considered the labels representing that the medication was the

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  approved form of Valsartan, the FDA statements disclosing the contamination and

  directing that patients be switched to alternative treatments—and why, and his

  experience in utilizing prescribing information from manufacturers (including for

  Valsartan), and confirmed that his understanding of the manufacturer’s duty is in

  line with the FDA standard that requires the dissemination of risk information. (Dr.

  Russo R. 2-5, 8-11 (Defs.’ Ex. 1); Dr. Russo Dep. Tr. 251:11-252:25, 257:7-12;

  262:25-263:17 (Defs.’ Ex. 2)). Ignored by the defense, but indisputable, is the fact

  that the NDMA contamination was determined by the FDA to be fundamental risk

  information that had to be disclosed—of such significance that the disclosure

  triggered a recall and instructions to clinicians to switch their patients to different

  medications and treatments.

        Defendants are clearly wrong that Dr. Russo lacks a basis for his opinion that

  the FDA was not endorsing the safety of ZHP’s contaminated valsartan by advising

  patients to obtain a replacement prescription of uncontaminated valsartan instead of

  immediately stopping the use of the drug. Dr. Russo explained his reasoning based

  on his experience and expertise as a doctor at whom the FDA statement was directed:

               The FDA’s recommendation that patients continue to take
               the contaminated pills until their physicians could
               prescribe replacement therapy was not an endorsement of
               the safety of the contaminated pills. Instead, it was the
               product of a straightforward risk-benefit analysis
               comparing the short-term risk of a disabling or fatal
               cardiac or vascular event due to abrupt cessation of
               hypertension therapy as against the longer-term risk of
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               cancer. The FDA made the reasonable determination that
               the immediate risk had to be prioritized, with the
               expectation per the announcement that patients would
               promptly seek and be directed to safe alternative therapies,
               of which there were many.

  (Dr. Russo. R. 8). This complies even with Defendants’ own case. Staub v. Breg,

  Inc., No. CV 10-02038-PHX-FJM, 2012 WL 1078335, at *3 (D. Ariz. Mar. 30,

  2012) (allowing expert testimony involving “analysis, opinion, or expertise when

  testifying about the regulatory process and history of” the product at issue, and

  noting that objections on this basis should be reserved for trial). The Court also has

  found that the defense cannot assert that the FDA statement was an endorsement of

  the safety of the contaminated pills. (7/23/2024 Tr. 189:17-24, 190:17-193:5).

        Interestingly, Defendants cite Hines v. Wyeth for the proposition that an expert

  should be excluded for “fail[ing] to cite a single rule or regulation that would require

  defendants to act as she suggests they should have, nor does she in any other way

  provide the grounds for her conclusion that a responsible manufacturer would have

  behaved differently,” while simultaneously criticizing Dr. Russo’s references to the

  regulations applicable to Defendants’ conduct. Hines v. Wyeth, No. CIV.A. 2:04-

  0690, 2011 WL 2680842, at *5 (S.D.W. Va. July 8, 2011). Dr. Russo is not a

  regulatory expert, but Defendants do not dispute that 21 C.F.R. § 201.57 and 21

  C.F.R. § 314.81 applied to their conduct in this case. Dr. Russo further explained

  that these regulations are “fully consistent with the standard I have applied in

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  forming my opinions here, and the expectations of reasonable physicians in clinical

  practice.” (Dr. Russo R. 4). Defendants cannot credibly criticize application of the

  applicable standard, when also arguing that failure to apply that standard would also

  warrant exclusion.

        Dr. Russo also considered and relied on the testimony of the prescribing

  physician in this case, Dr. Robert Robichaux, who testified that if he had been aware

  of the NDMA contamination he would have recommended a different medication

  for Mr. Roberts. (Dr. Russo R. 10 (“For example, Dr. Robichaux, who prescribed

  the Valsartan to Mr. Roberts, confirmed in his deposition that he would not have

  prescribed contaminated Valsartan to Mr. Roberts, and if he had known of the

  contamination, he would have prescribed a different medication.”); Dr. Russo Dep.

  Tr. 57:12-14).

        Defendants are mistaken that Dr. Russo cannot discuss this and other parts of

  the record of this case in explaining his opinions. If Dr. Russo had not confirmed

  that he was aware of the testimony of the learned intermediary, and had not

  considered ZHP’s own statements on the issue, the defense would accuse him of

  promoting a net opinion. This whipsaw approach dressed up as a Daubert motion is

  not valid. ZHP’s own case states: “An expert may testify to a review of internal

  documents for the purpose of explaining the basis for his or her admissible opinions

  ... [b]ut simply parroting [d]efendant's corporate documents or offering a narrative

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  account of events from them will not be helpful to the jury.” O'Bryant v. Johnson &

  Johnson, No. CV202361MASDEA, 2022 WL 7670296, at *13 (D.N.J. Oct. 13,

  2022). Dr. Russo did not parrot statements. He recited the key facts he relied on.

         Ironically, Defendants appear to be arguing that no expert is needed since the

  failure to warn and the gravity of that failure is established, which is factually

  accurate. One of the lines of questioning of Dr. Russo at his deposition intended to

  undermine his opinions illustrates the gravity of ZHP’s failure to warn of the

  contamination. Defense counsel made the point that if ZHP had disclosed the

  contamination earlier this information would not have been considered in

  prescribing decisions but rather would have triggered the recall. (Dr. Russo Dep.

  Tr. 135:4-137:9). This is not a disqualifying fact, but rather confirmation of the

  gravity of ZHP’s failure. And ZHP misses the fact that the failure to warn claim

  extends not just to the labeling for the pills, but also to the failure to provide that

  information to the FDA—which then would transmit that information to physicians

  and patients, as occurred in 2018. That duty is not disputed by ZHP—in fact their

  own corporate representative admitted that disclosure to the FDA was required.

  (Min Li 3/10/2021 Dep. Tr. 224:21-225:4 (Ex. 1 to Adam M. Slater’s certification

  in support of this brief)).

         Dr. Russo’s reliance/reference to the reports of other experts is proper and a

  matter for cross examination, not exclusion. Dr. Russo relied on Dr. Hecht’s

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  rendition of what happened and why, which is foundational information. Defendants

  cannot be suggesting that Dr. Russo should have replicated the work of an expert in

  organic chemistry and nitrosamines. Leese v. Lockheed Martin Corp., 6 F. Supp. 3d

  546, 553 (D.N.J. 2014) (“Experts ‘may use a mix of objective data and subjective

  analysis from another expert to ... create an admissible report,’ and the testifying

  expert's knowledge regarding the underlying facts ‘go[es] to the weight accorded to

  [that expert's] report and testimony, rather than its admissibility.’”); S.Y. v. Roman

  Cath. Diocese of Paterson, No. 20CV2605 (EP) (CLW), 2024 WL 1231333, at *7

  (D.N.J. Mar. 21, 2024); Callas v. Callas, No. CV 14-7486, 2020 WL 3468084, at *8

  (D.N.J. June 25, 2020) (“In sum, Rinaldi's testimony, based on his report, is

  admissible. To the extent that Defendants believe Rinaldi made errors in his own

  analysis, or that his reliance upon Morris's analysis was unreasonable, Defendants

  are certainly free to cross-examine Rinaldi on those issues.”).

     C. Dr. Russo Does Not Offer Legal Opinions.

        Defendants incorrectly claim Dr. Russo offers legal opinions that ZHP “failed

  to warn as a matter of law.” (Defs.’ Br. 8). However, the phrases “failed to warn” or

  “fail to warn” do not appear once in his report and are only used by defense counsel

  in his deposition—Dr. Russo very clearly discussed the inadequacy of the warnings

  and information provided to physicians. (See Dr. Russo R.; Dr. Russo Dep. Tr.

  142:19-23). Defendants own case—Arevalo v. Coloplast Corp.—clearly

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  differentiates between impermissible expert testimony that a defendant “failed to

  warn” and permissible testimony that a warning was “adequate” or “inadequate” and

  related permissible opinions on “the standard of care in the industry.” No.

  3:19CV3577-TKW-MJF, 2020 WL 3958505, at *20-21 (N.D. Fla. July 7, 2020),

  aff’d sub nom. Arevalo v. Mentor Worldwide LLC, No. 21-11768, 2022 WL

  16753646 (11th Cir. Nov. 8, 2022). All of Dr. Russo’s opinions are permissible

  based on this distinction, as he couches them in terms of adequacy and the

  information need for a reasonable physician to comply with the standard of care in

  his industry. As stated above, it is undisputed that ZHP did not warn of the presence

  of NDMA in its valsartan before July 13, 2018. An expert cannot be excluded for

  refencing such an undisputed fact, and discussing the ramifications. Brill v.

  Marandola, 540 F. Supp. 2d 563, 570 (E.D. Pa. 2008) (permitting hypotheticals to

  be stated as “objective facts” if based on “undisputed” facts).

     D. Dr. Russo Does Not Offer Ethical Opinions.

        ZHP conflates opinions of wrongdoing with ethical opinions. Dr. Russo does

  not state that ZHP acted unethically, and does not offer “[p]ersonal views on

  corporate ethics and morality.” In re Baycol Prods. Liab. Litig., 532 F. Supp. 2d

  1029, 1053 (D. Minn. 2007). His opinions are focused on ZHP’s failure to disclose

  the presence of NDMA in its valsartan in accordance with Alabama state law and

  the applicable FDA regulations. Unlike in In re Welding Fune Products Liability

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  Litigation, Dr. Russo does not opine that “a manufacturer’s duty to warn ‘goes

  beyond a legal duty; [it is also] a moral obligation.” In re Welding Fume Prods. Liab.

  Litig., No. 1:03-CV-17000, 2005 WL 1868046, at *21 (N.D. Ohio Aug. 8, 2005).

  The Court should not exclude the cited opinions.

                                    CONCLUSION

        For the foregoing reasons, Defendants’ motion to preclude certain of Dr.

  Russo’s opinions should be denied.

                                         Respectfully,

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  Dated: June 26, 2025




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                           CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2025, I electronically filed this brief and my

  supporting certification with the Clerk of the Court using CM/ECF system, which

  will send notification of such filing to the CM/ECF participants registered to receive

  service in this MDL.

                                   MAZIE SLATER KATZ & FREEMAN, LLC
                                   Attorneys for Plaintiffs

                                   By:    /s/ Adam M. Slater

  Dated: June 26, 2025




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